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                                                              U.S. Department of Justice

                                                              Civil Rights Division


Office of the Assistant Attorney General                      Washington, D.C. 20530




                                                              February 27, 2025
Via electronic mail
Dr. Alan M. Garber
Harvard University
Office of the President
Massachusetts Hall
Cambridge, MA 02138
president@harvard.edu

Re: Civil Rights Division Task Force on Combating Anti-Semitism


Dear Dr. Garber:

        On January 29, 2025, President Trump issued Executive Order 14188, Additional
Measures to Combat Anti-Semitism, to reaffirm and expand on his Executive Order 13899 and
to marshal all available federal resources to root out anti-Semitism from our Nation’s campuses
and classrooms. The Order directed federal agencies to use “all available and appropriate legal
tools” to confront an “unprecedented wave of vile anti-Semitic discrimination, vandalism, and
violence against our citizens, especially in our schools and on our campuses.”

       The Department of Justice is committed to vigorously enforcing this directive. On
February 3, the Department announced the launch of a multi-agency Task Force to Combat Anti-
Semitism, to be led by the Civil Rights Division. Pursuant to Executive Order 14188, and to the
Department’s authority under the Civil Rights Act of 1964, we write to notify you that we are
aware of allegations that your institution may have failed to protect Jewish students and faculty
members from unlawful discrimination, in potential violation of statutes that we enforce.

        The Civil Rights Division coordinates federal agencies’ enforcement of Title VI of the
Civil Rights Act of 1964, 42 U.S.C. §2000(d), et seq. (“Title VI”), which prohibits
discrimination by recipients of federal funds on the basis of race, color, and national origin
(including shared ancestry and ethnic characteristics). 1 The Division also enforces Title IV of the

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  Under Executive Order 12250, the Department is charged with ensuring the consistent and effective
implementation of federal civil rights laws “prohibiting discriminatory practices in Federal programs and programs
receiving federal financial assistance.” Exec. Order No. 12250, Leadership and Coordination of Nondiscrimination
Laws, reprinted at 45 Fed. Reg. 72,995 (Nov. 4, 1980). The Division also directly enforces Title VI with respect to
recipients of federal funds from the Department of Justice. See 28 C.F.R. Part 42.
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Civil Rights Act of 1964, 42 U.S.C. § 2000c, et seq. (“Title IV”), which authorizes the Attorney
General to address certain complaints of discrimination against students, including
discrimination based on religion or national origin, by public colleges and universities. Under
these laws, covered schools have a responsibility to take prompt and effective action when they
have notice that students face harassment creating a hostile environment on these bases.

        In addition, the Department enforces Title VII of the Civil Rights Act of 1964, as
amended, 42 U.S.C. § 2000e, et seq. (“Title VII”) against state and local government employers.
Title VII prohibits employers from discriminating against an individual because of race, color,
religion, sex, or national origin. See 42 U.S.C. § 2000e-2. This prohibition includes conduct that
creates a pattern or practice of discrimination or harassment for employees. Under Title VII,
employers must ensure that employees do not endure unlawful harassment based on their
religion. Employers also have a responsibility to take prompt and effective action to end
harassment when they are on notice – through employee complaints or otherwise – that
employee harassment is occurring.

        Based on the information we have received, the Civil Rights Division requests a meeting
within 30 days with relevant administrators, faculty, staff members, and any on-campus Jewish
stakeholder groups. This meeting will help us fully and objectively evaluate the allegations and
determine what further action, if any, may be warranted. A member of the Civil Rights Division
will reach out in the next several days to schedule this meeting. We stress that at this point the
Department has reached no conclusion as to whether Harvard University has violated any federal
law.

       Finally, I encourage you to report any potential hate crimes occurring at your school or on
your campus, including anti-Semitic hate crimes, to the FBI at tips.fbi.gov or 1-800-CALLFBI.

       Thank you for your prompt response and cooperation.



                                             Sincerely,



                                             Leo Terrell
                                             Senior Counsel to the Assistant Attorney General
                                             Civil Rights Division
